                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      NO. 3:11-00194
                                                )      JUDGE CAMPBELL
STERLING RIVERS                                 )

                                         ORDER

       Pending before the Court is the Government’s Motion to Continue Evidentiary Hearing

(Docket No. 1166). The Motion is GRANTED.

       The hearing scheduled for April 12, 2013, is RESCHEDULED for April 30, 2013,

at 9:00 a.m.

       It is so ORDERED.

                                                ____________________________________
                                                TODD J. CAMPBELL
                                                UNITED STATES DISTRICT JUDGE




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